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      Event Title: Roundtable breakfast with Don Harrison)




      Event Overview
      Date: September 13th, 2018
      Time: Door opens at 7:15, Session 7:30 - 9:00 (Internal briefing starts at 7:15)
      Venue: Google Japan 29F Partner Plex Tokyo


      Googler Executive(s): Donald Harrison, Bonita Stewart (VP, LPS), Patrick Jabal (VP, GPP), Dave Graham
      (VP, GBD), Ryu Hirayama (LPS), Shinichi Abe (GCP)
      Googler Host: Wakana Tanaka (Moderator, PPx)
      Googler Notetaker: Kanako Yagi


      Languages: English
      Translation: There is no translation
      Dress code: Business
      Omiyage (gift): Google Home Mini
      Meishi (business card): Please bring your business cards to exchange
      PPx tour for visitors after breakfast?: Y, if their time allows (9:00-


      Event Goal: To deepen partnerships and reputation with key influencers in Japanese to foster future
      partnerships and cross-functional collaboration with Google.


      Talking points:
             •   Google's strategy and initiatives for partnerships and innovations, as well as priorities
             •   Asking for some direct feedback from top partners
             •   How could Google become a better partner for you?


      Time Table

      Time         Content & Talking points (if any)                                                 Venue

      7:15         Briefing (Internal)

      7:30         Guest arrival / Exchange business cards / Breakfast starts                        Panorama

      8:00         Roundtable Starts                                                                 Summit

                       •• House Keeping: Off the record, closed
                          Moderator introduces speaker

                        • Moderator facilitates self introduction

      8:05         Opening Speech by Don                                                             Summit

                        ••
                         Share Google's Strategy on Innovation & Partnership
                          Inspire them to partner with Google

                         •Pathway for Startups, advice

      8:10         Open up for free discussion / Q&A                                                 Summit
                   Moderator makes sure everyone makes comments/questions

      8:55         Final Closing from Don                                                            Summit




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      Event Title: Roundtable breakfast with Don Harrison)




     19:00     I Kiss and Goodbye



      Attendees

      Mr. Shinichiro Muroyama                            LINE Corporation


      Mr. Masahiro Ito                                   Start Today (ZOZOTOWN)


      Ms. Hiromi Ohnishi                                 Asahi Shimbun


      Mr. Masaki Ogata                                   JR East


      Mr. Yasukane Matsumoto                             Raksul


      Mr. Kotaro Yamagishi                               Keio Innovation Institution




      Guests (Bio & business background)




                                                             •
                                                 LINE Corporation
                                        Mr. Shinichiro Muroyama
                                        Executive Officer I Head of Business Strategy Department

                                       Shinichiro Murayama is currently the Executive Officer and Head of
                                       Business Strategy Department in LINE Corporation. Prior to joining LINE
                                       in March 2017, he managed Total CE, Hardlines at Amazon Japan G.K as
                                       a Category Leader. In 2003, he joined a bridal company TAKE AND
                                       GIVE. NEEDS Co., Ltd., and was appointed as director and CFO in 2009.
                                       In conjunction with the company's international expansion, he
                                       supervised the startup businesses in Shanghai, Shenzhen, Hong Kong,
                                       Taiwan, and Indonesia, and served as the director and representative
                                       director in each company. He graduated from Doshisha University in
                                       1995, and started off his career at Sumitomo Marine & Fire Insurance
                                       Co., Ltd. (now the Mitsui Sumitomo Insurance Company, Limited)




                                       LINE: Japan's largest mobile messaging application, holds a similar
                                       position in Japan, Taiwan, and Thailand as WhatsApp in Europe.

         Company Overview              LINE Corporation provides a cross-platform messenger application
                                       LINE for mobile messaging and communication services primarily in
                                       Japan, and other Asian countries. It also provides communication and




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      Event Title: Roundtable breakfast with Don Harrison)




                                       content sales, advertising services through LINE advertising, and
                                       livedoor and NA VER Matome Web portals. The company was
                                       established in 2000 as NHN Japan Corporation, and changed its name
                                       to LINE Corporation in April 2013. The headquarter is in Tokyo, Japan.
                                       LINE Corporation is a subsidiary of Naver Corporation.

                                       After being listed in 2017, the company scale has expanded further and
                                       the range of possibilities of the business has also expanded. In order to
                                       continue growing at a higher speed, the limitation appears in the
                                       conventional system. In order to solve it and to achieve greater growth,
                                       it was the role of executive officer in charge of business development,
                                       and to reorganize the business strategy.

                                            •   The number of employees is 1,692 as of April 2018.
                Statistics                  •   76 million monthly active users in Japan as of Q2 2018
                                            •   DAU/MAU for LINE messenger is 85% in JP

                                        Recent highlights
                                            •   Proposed JBP(Draft deck) with Executive Sponsor at LINE (Mr.
                                                Masuda, #2 at LINE, Board Director/ CSMO).
                                            •   LINE once declined to implement Google Web Search in its
                                                Messenger and did not close JBP with Google. However, after
                                                Google explained the advantages of JBP, Mr. Masuda agreed to
                                                explore "Out of Box Ideas" and to revisit the possibilities of JBP
                                                with Google in late 2018.
                                       Global Partnerships
                                            •   [LPS] LINE is one of the top display partners in JP. (ARR $32.4M)
                                                LINE monetizes their messenger app with AdX in TW, TH, ID, but
                                                do not use AdX for JP inventory. Current revenue is mainly
                                                from their web services such as livedoor blog or livedoor news
                                            •   [GPP x Channel Sales(GMS)] Discussing to test Click to chat
                                                implementation on Google My Business
           Cross-Google
                                            •   [Pay] Decided to use Google Pay to enable NFC on Android
        Business Relationship                   devices for LINE Pay
             Highlights
                                       YouTube:
                                            •   YT Embedded player is implemented, LINE users can search
                                                and watch YT contents in their chat rooms (Implemented YT
                                                SDK for LINE)
                                       Google Analytics:
                                            •   Top GA360 partner (publisher side) in Japan
                                                                                                                       Comment [1]: +chongsa@google.com
                                        Play:                                                                          Can you review this statement - thought LINE
                                                                                                                       STORE is an issue since users can bypass Play
                                            •   One of the top revenue contributors for Play for both apps and
                                                                                                                       and purchase credit directly from LINE STORE
                                                games verticals. An important technology partner in terms of           Is this correct? Also, does this mean that just a
                                                Android/Play feature adoption but they also wants to grow their        fraction of revenue is lost from Play
                                                                                                                       perspective?
                                                own gaming/digital content platform ecosystem where                    _Assigned to Chongsa Kim_
                                                sensitivity exists. bl~lle is a tsp esR'lpan, sf 2917 lll(sFIEI iEle
                                                                                                                       Comment [2]: Thanks for looping me in
                                                esR'lsineEI iO§ & Pia, 'pps Re en~e. l=ls e eF, [bl~lle is a           Please take a look at the revised sentence
                                                esR'lpetitsF as a gaR'le platfeFR'l, the teaR'l tFies ts R'laintain
                                                     • •      •     •   •        I                                     Since it's a sensitive topic, I prefer to discuss
                                                                                                                       offline or over hangout Please let me know if
                                                                                                                       you need more info from Play

                                                                                                                       +evankojima@google.com fyi




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          One Google Goal               Bringing people, information, and services [much] closer together


            Sensitive areas                 e   AdWords is competing with LINE Ads Platform (LAP)
                                            •   Google Home is competing with LIN E's Smart Speaker, Clova
       hot button issues to be
              aware of




                                        Executive Director (Board Director)

                                       Masa oversees the engineering and development of all Start Today and
                                       related companies. He is responsible for the creation of the ZOZOSUIT,
                                       auto body measurement suit.
                                       Prior to joining Start Today, Masa was the founder and CEO of Yappa
                                       Corporation (2000-2014). After Yappa's acquisition by Start Today in
                                       2014, he became CEO of Start Today Engineering (currently Start Today
                                       Technologies) and oversaw technology and engineering for the group.
                                       Currently he is a board member of Start Today, overseeing the private
                                       brand "ZOZO".




                                       START TODAY was established in May 1998, headquarter is in Chiba,
                                       Japan. Selected as Forbes Asia's 200 Best Under A Billion in 2017.

                                       The main business,"ZOZOTOWN" is the largest online fashion shopping
                                       website in Japan. Over 1,100 stores offering more than 6,400 brands as
                                       of March 2018. Another one is ZOZOSUIT which is an original body
                                       measurement suit; it can make measurements by photographing the
                                       300-400 dot markers that over the entire suit from a 360 degree angle
                                       with a smartphone camera.
         Company Overview
                                       Start Today Co., Ltd. engages in the e-commerce business. It operates
                                       through the following business divisions: Zozotown Business, B to B
                                       Business and Media Business. The Zozotown Business division provides
                                       fashion shopping site called Zozotown and branded clothes shop called
                                       Zozoused. The B to B Business division manages the sale, system
                                       development, design, production, logistics contractor, and marketing
                                       support of the EC sites. The Media Business division provides the
                                       fashion coordination services site called Wear.

            Cross-Google               ZOZO's Top Business Priorities:




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        Business Relationship               •   Will focus on the fashion EC market and expand ZOZOTOWN
             Highlights                         business while promoting private brand business and
                                                advertisement business as a new initiative and accelerating
                                                development to various business areas
                                            •   Goals for the next 10 years include: 1) No.1 in online SPA in the
                                                world, 2) Top 10 global apparel players, and 3) market
                                                capitalization of 5 trillion yen in 10 years
                                        Global Partnerships:
                                            • Started to monetize ZOZOTOWN (No.1 fashion e-commerce in
                                              JP) and WEAR(Fashion SNS app in JP) with AdX(*Only for
                                              WEAR) and AFS (AdSense for Search) ARR $3.2M
                                           •  Discussing opportunity on SPA(MADS). Currently ZOZO uses
                                              Supership's MADS, but promised to test our solution SPA to
                                              judge better solution for them
                                           •  Pay team is discussing to add Google pay as a payment option
                                              for ZOZOTOWN
                                       Cloud: Big Query user. Decided to use G Suite Enterprise replacing
                                       from MS Office
                                       Google Analytics: GA360 user. Under discussion how ZOZO can
                                       leverage their own data for their data marketing with Google Marketing
                                       Platform (DBM)
                                       GMS: Planning to increase marketing budget this year including
                                       AdWords. Decided to test $200k UAC in Sep 2018
                                       VIAR Product: Discussing how Google can help improve the resolution
                                       of sizing data ZoZo collected from users. As future opportunity we may
                                       want to discuss E2E virtual designing/fitting application

                                       Revolutionize fashion industry globally with unique data and Google's
          One Google Goal              cutting-edge technology


            Sensitive areas            Fast Retailing (Uniqlo) is their competitor. The new initiative with
                                       Google partnership is not announced yet at the point of this
          hot button issues            roundtable.



                                                ~
                                                The Asahi Shimbun




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                                        Ms. Hiromi Ohnishi
                                        Executive Director, Digital Business/ International Affairs

                                       Ms. Onishi has led the digital business at Japan's 2nd largest newspaper
                                       company. Responsibilities she took include being the CEO of Asahi
                                       Interactive, Executive Manager at TV Asahi. She also conducted
                                       research at MIT Media Lab as a visiting scientist in 2013-2014.

                                        Ms. Onishi's Top 3 priorities include:
                                            1. Increase "Site Power" and grow pageviews
                                            2. Maximize digital contents revenue from ad and subscription
                                               model
                                            3. Build new business model around ads and contents providing

                                       The Asahi Shimbun is one of the five national newspapers in Japan. Its
                                       circulation, which was 6. 6 million for its morning edition and 2.1 million
                                       for its evening edition as of June 2015was second behind that of
         Company Overview              Yomiuri Shimbun. PV of Asahi Newspaper digital counts 570M/month
                                       with 32M unique browsers. The company has its registered
                                       headquarters in Osaka. Nikkan sports, TV Asahi and Asahi Broadcasters
                                       Corporation are group companies.


          Top 3 Publisher                   •   Create a significant step change in web performance
         Partnerships Focus                 •   Build next generation of newsroom through digitization
               Areas                        •   Expand digital business with new product


                                        Global Partnerships: STRONG
                                            •1:1 Partner Program Partner in APAC and Top Priority Partner in
                                             Japan. Closed JBP in Q2.
                                          •  Fully ramped up on DFP usage and keen on growing more
                                             programmatic revenue
                                       YouTube: Strong
                                            •   Launched new YouTube channel called "Bukatsu ONE" in 2017
                                                along with Asahi Broadcasters Corporation to attract younger
                                                generations
           Cross-Google                Google Analytics: Moderate
        Business Relationship               •   Implemented Google Analytics 360 (to execute JBP
             Highlights                         commitment. Asahi implemented GA360 along with Adobe)
                                       GMS: Moderate
                                            •   GMS partner, LPS introduced their marketing team to GMS
                                                team
                                            •   Started discussing how Asahi could leverage AdWords on
                                                campaigns
                                        Play (Play Books, Newsstand, App): Moderate
                                            •   One of the early adopters of Newsstand
                                            •   Launch partner of AMP

                                       Support Asahi's 3 Partnerships Focus Areas (listed above) and make
          One Google Goal              Asahi Digital more attractive to new and existing users




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                                            •   No sensitive areas/issues to be aware of at this point
            Sensitive areas
          hot button issues




                                                        ~
                               East Japan Railway Company (JR East)
                                        Mr. Masaki Ogata
                                       Vice Chairman


                                       Mr. Ogata joined Japanese National Railways (JNR) in 197 4 and
                                       afterward was assigned to East Japan Railway Company (JR East) when
                                       JNR was divided and privatized in 1987. In JR East, he has experienced
                                       various management positions including Customer Service, Investment
                                       Planning, Public Relations, Transport Safety, and Transport and Rolling
                                       Stock Department. From 2008, as Executive Vice President, he took the
                                       full responsibility of the management of the safe and reliable operator
                                       of railway network with daily 17 million passengers. At the same time, he
                                       also strongly led the very important railway projects such as the further
                                       development of the smart IC card "Suica". As Vice Chairman of JR East
                                       since June 2011, he has been driving the open innovation and the open
                                       globalization of the management and technology onward to enhance
                                       the quality and variety of overall business domain of JR East.

                                       East Japan Railway Company is a major passenger railway company in
                                       Japan and one of the seven Japan Railways Group companies.
         Company Overview
                                        It has three business segments. The Transportation segment operates




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      Event Title: Roundtable breakfast with Don Harrison)




                                       railway routes, including the bullet train lines and the conventional
                                       railway lines mainly in the Kanta area and the Tohoku area. The Station
                                       Space Utilization segment establishes commercial space in the railway
                                       stations and operates restaurants and retail stores. The Shopping and
                                       Office segment is engaged in the operation of shopping centers and
                                       the leasing of office buildings located in the railway stations and
                                       surrounding areas. The Company is also engaged in businesses related
                                       to hotels, advertising agency, tourism, wholesale, truck delivery, credit
                                       cards, information processing, as well as cleaning and maintenance,
                                       among others.


                                       The International Division of JR is also developing overseas business in
                                       cooperation with other companies and groups, such as the operation of
                                       the West Midlands railway in the UK, and supplying vehicles to Bangkok
                                       Metro. As a company operates railways, JR East is the biggest in the
                                       world (the number of people transported x the distance), and it is
                                       comparable to the German Railway in transportation revenue. The
                                       communication slogan is "TICKET TO TOMORROW."

                                       Google Cloud started establishing the top exec relationship with Mr.
                                       Ogata, Vice Chairman as well as other senior execs such as Mr. Ota
                                       (CIO/CTO). Mr. Ogata is very keen to build a holistic and strategic
                                       partnership between JR East and Google across functions, and would
                                       like to establish a corporate wide streamlined "One Window"
                                       engagement model in their attempt to develop a new business model
                                       and platform together with Google.
                                       The possible key collaboration are as follows:

                                            ••      Digital marketing
                                                    Maps

                                             ••     Big data ranging Suica transaction data
                                                    Payment

                                              ••    Assistant
                                                    RPA (Robotic Process Automation)

           Cross-Google                        •    Cultural transformation and productivity analytics (& G Suite)

        Business Relationship           In addition, some key numbers to speak about JR East are below:
             Highlights
                                            ••      17.5M customers/day
                                                    12,000 trains/day

                                             ••     1,700 train stations
                                                    13,000 rolling stocks

                                              ••    $38B fixed assets (buildings, fixtures and machinery etc.)
                                                    $6B Capex

                                               ••   120M - 150M Suica transactions/day & 5M Mobile Suica users
                                                    55,000 employees


                                       <Relationship status>
                                       As above, just started the top exec engagement while each of Google
                                       team has business with JR East.
                                       From the top exec relationship perspective, Mr. Ogata will host GP
                                       leads and Google Cloud members to Tokyo Station Tour on Sep 11 with
                                       pursuing the aforementioned company wide partnership. In addition,




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                                       we will host Mr. Ogata to PartnerPlex Tokyo in Tokyo to further discuss
                                       our partnership.


                                       Global Partnerships:
                                            •   None particular at this point, but DOOH can be a monetization
                                                opportunity
                                            •   If companies agree to discuss xG partnerships, LPS will provide
                                                BD support
                                       Cloud:
                                            •   The point of contact for Mr. Ogata
                                            •   Proposing G Suite for its 55,000 employees' workstyle
                                                transformation
                                            •   Identifying possible opportunities for Google Cloud
                                                Platform(GCP) such as Data Analytics Platform for Suica (JR
                                                East's mobile payment instrument)
                                        LCS:
                                            •   $1.5M/year business with Google at Parent Level (including child
                                                companies), currently increasing +180% yoy
                                            •   Have contact with Mr. Ryoji Akaishi (Managing Director, Sales
                                                &Marketing Division and Olympics Project) and Ms. Kimiko
                                                Sakamoto(Director, Sales & Marketing Division)
                                            •   They have decided not to use TVCM for a specific campaign (JR
                                                SkiSki) and decided to plan it with digital media centric, using
                                                solely Google data (e.g. Insights Finder/Query Analysis/Google
                                                Survey)
                                            •   They are likely to start inbound marketing for the first time for
                                                ski market, with user insights (query data/ 3rd party data)
                                                submitted by Google
                                            •   They (System Innovation Div) have decided to utilize their app
                                                data (JR East App) , created DM Pat their in house agency, and
                                                will use DBM starting from Oct.
                                            •   Also have contact with System Innovation Division (re gPay) and
                                                introduced Holger Luedorf (MD of Partnerships) to JRE's
                                                Olympics Project Team (The head is Mr. Akaishi, MD of Sales &
                                                Marketing)
                                       Google Analytics:
                                            •   Google Analytics 360 Customer
                                            •   Contact with system division trough NRI Netcom
                                            •   Had a KPI and GA360 mini seminar for Sales & Marketing
                                                Division to expand GA360 usage and optimize whole of their
                                                marketing action.
                                        Maps/Global Product Partnerships:
                                            •   Initiated exective level engagement for further collaborations
                                                to make the navigation for train rides/through train stations
                                                better (follow up meeting on Sept 12th)
                                       Google Pay:
                                            •   Suica (transit/ emoney) is available on Google Pay May 2018.
                                            •   Supporting commuter pass renewal feature on Sep 2018.




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                                            •   Currently discussing Suica as a form of payment on Google
                                                Play Store (lmali project).

                                       Establish a company-to-company partnership and mutual win-win
          One Google Goal              relationship


            Sensitive areas
          hot button issues
                                            •   No sensitive areas/issues to be aware of at this point




                                                  -   Raksul Inc.




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      Event Title: Roundtable breakfast with Don Harrison)




                                        Mr. Yasukane Matsumoto
                                        Founder & CEO, Raksul Inc.


                                       Yasukane founded Raksul Inc. in 2009 with the vision of bringing
                                       innovation into the printing industry and reduce inefficiencies in the
                                       industry value-chain. In 2013, he launched 'raksul.com', an e-commerce
                                       printing platform serving SM Es by utilizing existing printing factories'
                                       excess capacity. In December 2015, he launched 'hacobell', an online
                                       sharing platform for trucking services to solve the on-going capacity
                                       challenge in the Japanese logistics industry. In 2018, Raksul Inc. was
                                       ranked top in "Startup of the Year" by Forbes Japan and is now listed on
                                       the Tokyo Stocks Exchange.


                                        Before founding Raksul, Yasukane worked as a consultant for A.T.
                                       Kearny. He holds B.A. in Business & Commerce from Keio University
                                       (Japan)


                                        He was ranked second on "Entrepreneur Ranking in Japan" by Forbes
                                       Japan magazine in 2016, and ranked third in 2017.

                                       Raksul was founded in 2009; they use the Internet to select the best
                                       printing company from all over Japan that fits the customer's order
                                       needs. They developed a mechanism that provides high-quality printing
                                       at low cost by using the under-utilized capacity of printers. They have
         Company Overview              raised funds of 7.9 billion yen, and have also made a capital tie-up with
                                       Yamato Holdings. The company message is "Better Systems, Better
                                       World."
                                        Raksul won the "2015 Red Herring Top Global 100" award in 2015.

                                       No major engagements with Google so far (Cloud - 250+ G Suite acct;
                                       Ads - Move to GMS in 2019), but the following can be opportunities:
                                            •   Ads: Print to Video
          One Google Goal                   •   Cloud: Use ML to automatically optimize flyer design and layout
                                            •   Strengthen relationships with one of the brightestJapanese
                                                tech startups and/or ask Matsumoto san to be involved in the
                                                future GFE activities

                                            •   No sensitive areas/issues to be aware of at this point
            Sensitive areas
          hot button issues




                                                     -
                                      Keio Innovation Initiative, Inc.




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      Event Title: Roundtable breakfast with Don Harrison)




                                        Mr. Kotaro Yamagishi
                                       CEO


                                        Kotara Yamagishi serves as CEO of Keio Innovation Initiative, Inc. (KIi)
                                       which is Keio University's venture capital since its establishment in
                                        December 2015. Prior to KIi, he co-founded GREE, Inc. in December
                                       2004, and still serves as the company's board director. Earlier in his
                                       career, he was editor-in-chief of CNET Japan and editor at Nikkei
                                        Business Publications, Inc. He graduated from Keio University,
                                        Economics.




                                        Keio II is a venture capital established by Keio University, founded in
         Company Overview              2015. Their mission is to innovate society through developing new
                                       industries which use Keio University's research results.

                                            •   Strengthen the relationship with KIi and foster collaboration
                                                with their portfolio companies in our startup support programs
          One Google Goal                       including Launchpad, People Labs, etc.
                                            •   Exploit developing incubation function with Keio University
                                                through KIi.


            Sensitive areas                 •   Nothing special

          hot button issues




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      Event Title: Roundtable breakfast with Don Harrison)




      Meeting Notes:


      Wakana-san: Thanks for coming, Hope you enjoy the breakfast. Now opening up discussion and please
      enjoy morning talk. Could you briefly self intro yourself?


      Matsumoto-san: Thanks for inviting. Very exciting to see this space. I am an entrepreneur in Japan. My
      business is similar to Uber for print business, connecting and utilizing printer. Went public last July. We
      are going to change the structure of Japanese industry. Now we have focus on ad space. Image is and
      offline ad network such as TV commercial, billboard. We hope that every customer, including SMB, can
      access to those ads.


      Muroyama-san: I have been working for LINE 1.5 years. I'm responsible business development. Typically
      working on Japanese mobile business, cloud & Al business. Also working on global projects. Looking
      forward for new opportunity. LINE has 75 million MAU in Japan, that means that almost a half of
      Japanese population use LINE. Keen on having discussion.


      Ryu-san: Thanks for coming. Ryu, running partnership at Google


      Abe-san: Looking forward to have discussion with each of you.


      Patrick: I work on partnerships such as maps and search.


      Yamagishi-san: I am a venture capitalist and entrepreneur. Keio is the oldest university in Japan. And
      it's also well known for science and medical. We partner with Nomra, venture fund to support
      technology such as IT and big data. I have co-founded GREE- Japanese SNS which is similar to
      facebook. GREE is now providing game.


      Ogata-san: Maybe I'm the oldest in the room - I am from JR, Vice Chairman. Same company for more
      than 44 years. Responsible for everything but especially around open innovation. Happy to work
      together with Google. Negative image stays within rail company. Very happy to show Google exec our
      station, management, and technology.


      lto-san: Board member of StartToday, ZOZOTown. I am responsible for our private label. ZOZO is new
      brand focuses on fit. You measure yourself for your clothes. We are looking for global expansion. Asahi
      was biggest client when I was running start up. I have run the start up 14 years, then sold to Zozo.


      Bonita: Lead US publishers partnerships such as broadcast and news. 2nd time in Japan. Level of
      technology and innovation for Japan is very high from US perspective. Would like to share best practice
      from the US.


      Peter: Responsible for business operation in Japan. 3 years in Japan. There are so many amazing
      innovations in Japan.


      Dave: Thank you, this is such a great experience. I am responsible for the distribution of Google's
      product.




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      Event Title: Roundtable breakfast with Don Harrison)




      Ohnishi-san: I'm from Asahi, responsible for digital business and international business. I'm amazed to
      see how people are connected. Very impressed. For my responsibilities, half of my job is transformation
      of digital business. The rest is to work with external companies. JP tend to work in-house such as no
      contributed writer, no external working partners. Not much experience with working outside partners.
      This is news challenge for us.


      Don: I run global partnerships at Google. It's a worldwide org. We work with top partners and try to
      bring the best of Google. Commercialize number of products like maps and search. We are working
      effectively with other teams within Google. 18 years working on investment. Especially off balance
      sheet investment. I am SpaceX board member. We invest to build connection, partnership perspective.
      Google has always build on a partnership like AOL and Yahoo, distribution of our product. Google
      benefit from healthy ecosystem from any industry. We want to use our tools. Distribute to run our
      mission. We are a product company, building a product. Sundar is more contact operated, like he
      deeply cares ecosystem and industry. That's why we listen. Sundar is focused on 1)Cloud 2)Hardware
      such as phone and assistant devices. We are not trying to become Apple. We are trying to build a
      device that makes good experience. 3) Al/ML to generate user product. Google photo uses machine
      learning technology. Sundar is also passionate about democratizing ML like tensor flow. Important
      commitment by the company. We all benefit and that comes back to Google. Deeply care about ethics.
      We are complicated places. We are trying to organize partnership teams. Bring the best of Google to
      you, to learn from you. Make the right product decision. How we could be better partners.


      Ohnishi-san: We work with Google on 3 different partnership. 1) transformation of newsroom. Before
      our partnership, News Lab visited the company. We have to improve out newsroom another step
      forward. Now our newsroom is talking with Google. Important thing is to change the middle layer. We
      have to change middle layer, because the younger generation know how to change. What we are trying
      to change now is to change middle management. 2) Digital business monetization 3) Developing new
      business. More younger generation are not watching TV, we are working with broadcasters. Big
      challenge for us. We are not sure we can make big challenges but we need to try.


      Ryu-san: Middle layer management problem is same for every Japanese old company.


      Don: I spend tremendous time with Bonita. If we can help, we have tons of ideas.


      Bonita: We can connect with US companies


      Ohnishi-san: CNN and The New York Times. They hire news journalist and hire business team with
      digital knowledge.


      Ogata-san: We have a history of more than 150 years. Not only the middle layer but younger
      generation is also trying to stay the same. Because as a company we have to keep the track. That is why
      our mindset tend to be very traditional. I don't like that as a top management. I have put together
      System department and R&I department to promote open innovation. We have done many open
      innovation. What we are trying to do is something very valuable to the community. We carry the largest
      number of people in the world. Our market is expanding to the world. Suica is available outside of
      Japan. Many inbound tourists come to Japan today. In such case, the number of customer is our assets.
      We would like to provide better service utilize Al/ML. We have huge# of assets. Many thing to control
      and maintain. So we have huge data. Very different from US rail companies.




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      Don: I think Japanese bullet is the future. Your company is not as traditaionl as you think.


      Ogata-san: We never stop R&D. We need to be the safest and comfortable transport. Noise reduction
      is a target. Very difficult issue to solve. Want to make our future intelligent both inside and outside. For
      2020, we are working on platform to establish mobility of people. We would like to provide any
      information, any payment, entertainment, and information to the customer.


      lto-san: Most of our traffic is search from Google, we owe you. Our ZOZOTown has 6000 brand. Lots
      of that is coming from search. You see ZOZOTown pop up. You click, it's available, it's cheap. We want
      to change consumer behavior. Change is happening for example, I ask Google on today's weather
      every morning to decide what to wear. ZOZO has customer's size. With Al and with different services,
      we can tap into preferences as well. Completely see change is happening. Next 10 years is going to be
      massive. We know exactly what people want. We are trying to develop our Al tool. It's called WEAR. 25
      million users in Japan. If the question is "what should I wear today". We have millions of people buying
      from ZOZOT own. We know what they bought in ZOZOTown. We can suggest what that person should
      wear. It would be amazing if it worked but has to be at the amazing level.


      Ryu-san: That can be integrated to GSuite. How is your strategy on going global?


      lto-san: ZOZOTown has counterpart in different regions in the world such as Zolanda group in Europe.
      Our fashion label is borderless. Anybody in the world needs a good pair of jeans. We feel we can scale
      globally. I personally think super high custom clothing is next. Hope we can be next Zara. Women
      clothing is next phase. Once everything is in place, then to style. Totally possible but building block is
      necessary.


      Muroyama-san: Sometimes it's complicated but we should continue to provide great service. Google
      and us should be competing. But there are a lot of space we can work together. We can continue
      discussion together. We are happy to have any kind of discussion. Industry has experience and
      knowledge. Tech company should know what we can not do and what we can provide. We need to
      work together with industry. If we can foster this kind of mindset, we can create innovation.


      Yamagishi-san: From my point of view, startups in JP is good entry point for Google Cloud. Once
      startup start using AWS, then they keep using. AWS is reaching out to those statups. Google's
      advantage is digital marketing. By supporting them, you can communicate with them in the beginning. If
      you support Japanese startup, Google can be successful in Japan's startup community.


      Peter: We will announce more how we can work for Japanese startup. More to come. Looking forward
      to support ecosystem.


      Matsumoto-san: I think there are 2 areas we can work and that are logistics and ad space. Logistics is
      changing drastically. Son san is investing in automotive industry. Mobility marketplace has network
      effect. Japan is not so exciting for internet world but 3rd biggest country in terms of GDP. I think the
      next 3 to 5 years, a lot of tradition will change. Network effect, we need huge capital. Opportunity to
      change logistics. 100 billion industry. Every large company will be consolidated. It happened in China
      and US. We need capital and technology. We need to optimize our logistics. Big opportunity to connect
      technology to the local market place. Disrupt the ad is what I want to do. Digital ad is growing very




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      rapidly. 15 billion dollar. TV is 20 billion dollars. Offline ad space has 40 billion dollars. Digital is not only
      the utility and we still have analog. I want to change analog. It's seamless to digital. Very huge market.
      Network offline advertising and change the structure of the industry. I would like to have a partner to
      change.




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                    tied up with Amuse, announced in May. It provides an all-in-one purchase process through
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          e    wrp, : 7 JJ 7JvjcJO) l::''J;t 7 /:l:l=~frj\Ll* ('.\;\ 5 7'::; ;1 Jv{[:;)5, :b
                                                                                   VJ .il!,!v'c'v'ft;,5,,::, t~i,'*'2':,1 Y ;1
                                                                                                             ~

               ~   * : ; r-   '2':l~ m L., 3'.Z:}J$1t:; L., J:.: VJ   w0) i'iliv ,-1;r~ 1::•' 7 '2".'t<'1iffi f,::t'fc{:!f.:T o t
                                                                                                   0) f,::.il!,{t:; 6 i:tt~ u,Jl.f!f
               L. tv'~ To ~JJ-C~v'*~'2':7';;; ;11v{t:; L. tv' < 0)/:J:cjlp'll\'f,::[l~t::' 0 t~ t ~{i§. L. tv'~ To -it
               7°7'1'-\'~{JIJJ (l=~frj\UI~) '2". t:'O)J:.: 5 f,::~t,E, m1~6h, 1::•':);t.7Ht*6hf~O)'c'l.J: 5 ;,5,7

      il'ff!H J ./'C~/ 3 Y · ,1 ::::/TT ,17· I ~w !1:::t:Jl~ I {i;*l&ifrli:fl,tt±-ft
            •  JJ'' 1J ~O)+t[j¥];1i!IJ*i'r-C, J'!l,i=E/:l:!l'ff!Hi~*"j!c~O)./'C/Tf ~"ff l:: ;l Jv'c';b o!l'ff!H J ./'C~/ 3
                                                                                                                       0




               Y · ,1:::::/7'r,r7't±-ft'2".~llbo~J¥J'(:/:l:, !rlltlifi~i'r, ?.x.7·~~, ?x7';!-7',r70)f,ffil~-ft
               '2".ml't, ./'C/Tf~~**f,::fi~ L.fdtBO)ml~O)J'/¥1::,±o (here)
            e  wrp,:     J:.:C r3::$:/:l:{fil0)00f,::J:r;~t71,7~]'-7::;7°:Dl1ft:,f,::<v't'.8'bh~TJJ', ~tf:)t::'t
               ,\l!,bh ~ T:D', :b ov'l:l:f: O)tk?5tl:l:Y Vf~S£b 0 t 2" tv' o t ~ C Gh ~ Tc.' L. J: 5 ;,5,0




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